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                             UNITED STATES BANKRUPTCY COURT

       2                     EASTERN DISTRICT OF CALIFORNIA

       3
           In re:                                 Case No. 16-23655-B-7
       4
           COLUSA REGIONAL MEDICAL CENTER,            DC No. DNL-49
       5

       6                        Debtor(s).                              FILED
       7                                                              OCT 112021
       8                           MEMORANDUM DECISION         UNITED STATES BANKRUPTCY COUR
                                                                EASTERN DISTRICT OF CALIFORNIA
       9
                 Before the court is the Trustee's Second and Final
     10
           Application to Approve Trustee's Chapter 7 Compensation
     11
           ("Application") filed by the chapter 7 trustee. The chapter 7
      12
           trustee requests commission fees totaling $117,405.07 as the
      13
           statutory maximum compensation under 11 U.S.C. § 326(a)
      14
                 There are two objections to the Application: (1) the United
      15
           States trustee filed an Objection of the United States Trustee to
      16
           the Chapter 7 Trustee's Second and Final Fee Application; and (2).
      17
           the United States, through the United States Attorney's Office on
      18
           behalf of the United States Department of Agriculture ("USDA")
      19
           and the Internal Revenue Service ("IRS"), filed a United States'
      20
           Objection to Trustee's Second and Final Application to Approve
      21
           Trustee's Chapter 7 Compensation.   The objections are based on
      22
           substantially the same grounds; however, they request
      23
           dramatically different relief.'
      24
      25
      26        'The United States Attorney's Office and the United States
           trustee are components of the United States Department of
      27   Justice. The United States' objection conflicts with the United
           States trustee's objection to the extent it seeks entirely
      28   different relief. In essence, the same agency has asserted
           conflicting positions on the same issue based on substantially
           the same conduct in the same case.
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       1         The United States trustee "requests that the Court (i)

       2   reduce the [chapter 7 trustee's] compensation request by

       3 $32,826.05, and (ii) approve the [chapter 7 trustee's commission]

       4   fees in the amount of no greater than $84,579.02." Docket 864 at
       51 1:24-25 (emphasis added). The United States, on the other hand,
       r   asserts that "[t]he [chapter 7 trustee's] application for

       7 [commission] fees should be denied," docket 876 at 1:7 (emphasis

       8 added), and "the Court should deny the [chapter 7 trustee] any
       9 compensation." Id. at 21:2 (emphasis added)

     10          The chapter 7 trustee filed responses to both objections.

      11 The chapter 7 trustee consents to the reduction in commission
      12 fees recommended by the United States trustee and opposes the
      13 United States' request for the court to deny all commission fees.

      14         A hearing on the Application was held on September 28, 2021.

      15 Appearances were noted on the record. The court heard argument

      16 from parties who appeared, stated a tentative ruling on the
      17 record, and adopted its tentative ruling as its decision.

      18         The court has reviewed the Application, objections,
      19 responses, and all related declarations and exhibits. The court

      20 has also heard and considered the arguments of counsel. And the
      21 court takes judicial notice of the docket. See Fed. R. Evid.
      22 201(c) (1). The court issues this memorandum decision to
      23 supplement and elaborate on the oral decision stated on the

      24 record.2 See Fed. R. Civ. P. 52(a); Fed. R. Bankr. P. 7052.

      25
      26
      27       21f there are any conflicts between the court's oral
          statements and this memorandum decision, the latter controls.
      28 Playmakers LLC v. ESPN, Inc., 376 F.3d 894, 896 (9th Cir. 2004).

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       1 Discussion

       2         The grounds for the United States trustee's recommended
       3 reduction in the chapter 7 trustee's commission fees and the
       4 United States' request to deny all commission fees are explained

       5 ' in the respective objections. The parties are intimately
       6 familiar with those grounds. They need not be repeated here

       7 except to the extent necessary for this memorandum decision.

       8         The court initially reaffirms its decision to sustain the
       9 United States trustee's objection and overrule the United States'
     10 objection. The court also largely adopts the analysis and

     11 conclusions in the United States trustee's comprehensive and

     12 highly persuasive objection as the correct, reasonable, and
     13 rational approach to the chapter 7 trustee's request for
     14 commission fees under the facts of the this case. See U.S. v.

     15 14.02 Acres of Land, 2004 WL 7337381 at *7 (E.D. Cal. June 21,
     16 2004) ("The court is persuaded by the reasons articulated by the
      17 United States in its reply brief and adopts this analysis and
      18 conclusion."); Bayer AG v. Carlsbad Technology, Inc., 2001 WL

      19 34125673 at *5 (S.D. Cal. Oct. 24, 2001) ("The court largely
      20 adopts the analysis in Bayer's highly persuasive and

      21 comprehensive opposition brief."); In re Brand Affinity

      22 Technologies, Inc., 2016 WL 8316889 at *3 (Bankr. C.D. Cal. Feb.

      23 24, 2016) ("[T]he Court adopts the arguments set forth in the
      24 Debtor's Motion, Reply and the oral arguments of counsel stated

      25 on the record of the hearing[.]"). In so doing, the court
      26 rejects the United States' objection which the United States
      27 conceded during oral argument is largely the product of
      28 frustration rather than reasoned, reasonable, and rational

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           analysis .3 See Transcript at 26:22-24, 27:5-6.

       2         Trustee compensation under 11 U.S.C. § 326(a) is

       3   presumptively reasonable and should be allowed absent

       4   extraordinary circumstances. Fear v. United States Trustee (In

       5   re Ruiz), 541 B.R. 892, 896 (9th Cir. SAP 2015); Hopkins v. Asset

       6   Acceptance LLC (In re Salgado-Nava), 473 B.R. 911, 921 (9th Cir.

       7   BAP 2012)   .   The United States trustee's objection identifies

       8   extraordinary circumstances which it asserts warrant a reduction

       9   in the § 326(a) commission fees requested by the chapter 7

     10    trustee.' The court must therefore "conduct a further inquiry to

     11    'determine whether there exists a rational relationship' between

     12    the compensation requested and the services rendered." Ruiz, 541

     13
     14         3The frustration, as well as some anger and personal
           animosity, were apparent to the court in the tone of the United
     15    States' objection and in the voice of the Assistant United States
           Attorney who appeared for the United States.
     16
     17         'Generally, the extraordinary circumstances are the lack of
           an accounts receivable ledger, delay in the abandonment of USDA's
     18    collateral consisting of the debtor's accounts receivable, and a
           less than thorough investigation of investment property.
     19    Regarding the ledger, the court takes into account the difficulty
           of maintaining a traditional ledger in this case because
     20    substantially all of the debtor's receivables are electronically-
           stored medical records, held by a third-party, difficult and
      21
           expensive to extract, require expertise to extract, and implicate
      22   HIPPA concerns upon extraction for collection, transfer, or sale.
           See Docket 903. Regarding abandonment, the court notes that the
      23   USDA was granted relief from the automatic stay based on its
           representation that it wanted to control and it intended to
      24   collect the receivables independent of the chapter 7 trustee,
           docket 283 at 2:10-15, and that the United States essentially
      25   conceded during oral argument that the USDA did not do much of
      26   either after stay relief was granted. See Transcript at 22:15-
           23. More precisely, the USDA obtained "some" electronic records
      27   and it elected to not pay to obtain all records. JL USDA
           attempted to deflect its dereliction by dismissing its lack of
      28   effort as irrelevant. Id. at 18:8-20, 25:3-12, 24-25.

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       1   B.R. at 896 (quoting Salgado-Nava, 473 B.R. at 921)

       2         The chapter 7 trustee sold the debtor's hospital and related

       3   assets in November 2016. The report of sale was filed on January

       4   3, 2017. See Docket 381. During oral argument the United States

       5   conceded that the hospital sale was a benefit to the estate.

       6   Transcript at 30:21-22 ("I'm not arguing that there was no

       7   benefit up until December 2016. There was some benefit.")     .   In a

       8   published opinion issued in the USDA's appeal from a surcharge

       9   order entered earlier in the case, the Ninth Circuit Bankruptcy

     10    Appellate Panel also recognized the benefit that the hospital

     11    sale provided to the estate and creditors. It stated:

     12          [The chapter 7 trustee] successfully orchestrated a
                 sale of a substantial portion of Debtor's assets, and
     13          the record supports that the hospital thereafter
                 reopened and hospital medical services resumed. The
     14          Trustee achieved excellent results in the case that
                 benefitted both creditors and the citizens of Colusa
     15          County.

     16    United States Department of Agriculture v. Hopper (In re Colusa

     17    Regional Medical Center), 604 B.R. 839, 844 (9th Cir. SAP 2019)

     18    The BAP reiterated its "excellent results in the case" and

      19   "benefit" references by further stating that the hospital "sale

     20    was a valid exercise of the trustee's business judgment and was

      21   in the best interest of the estate[.]" Id. at 857.

      22         Despite services the United States acknowledged were

      23 I beneficial and results the BAP characterized as excellent, the
      24   United States asserts that there are five reasons why the chapter

      25   7 trustee's commission fees should be denied in their entirety.5

      26
      27        5Asking the court to deny all commission fees and disallow
           compensation in its entirety after cbnceding that the chapter 7
      28   trustee provided beneficial services to the estate, and after

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           See Transcript at 16:7. The five reasons are identified in the

       21 United States' objection (and paraphrased) as follows:

       3             The chapter 7 trustee sold all the assets in
                     November 2016 and spent the next three years in
                     litigation with USDA over collateral which was
                     over encumbered. See Docket 876 at 15:6-12.
       5
                     USDA repeatedly asked the chapter 7 trustee to
       6             remove himself from the administration of USDA's
                     collateral since at least February 2017. See
       7             at 15:20-21.

       8             Passive collection of the debtor's receivables
                     deprived USDA of right to handle its collateral
       9             consistent with the stay relief the court granted.
                     See Id. at 16:21-22, 17:14-16, and 18:28_19:2.6
     10
                     Surcharge was a mistake that the Trustee knew, or
     11              should have none [sic], was wrong. See Id. at
                     17:3.
     12
                     Not maintaining the accounts receivable ledger
      13             required by the United States trustee's Handbook
                     and/or not including an accounting of receivables
      14             with Form 2 of the Trustee's Final Report. See
                     Docket 876 at 17:20-18:17.
      15
                      Poor results in administration which is a summary
      16              of the prior four items. See Id. at 18:18-19:13.

      17         The United States' five reasons essentially boil down to an

      18   assertion that the USDA's collateral consisting of the debtor's

      19   receivables should have been administered differently and

      20   abandoned to the USDA earlier in the case. Problem is, the

      21   United States has not explained how, if at all, any of the

      22   reasons negatively impact the compensation base on which the

      23
      24   obtaining a published opinion that acknowledges the same, is
           further indicia of a vindictive Assistant United States Attorney.
      25
      26        6Passive collection occurred after the hospital sale. See
           Id. at 8:14-17; see also Docket 864 at 3:7-14, 20:19-22.
      27
                'The surcharge motion was filed on August 14, 2018. See   Id.
      28   at 6:21-22; see also Docket 516.

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       1   reduced compensation in the United States trustee's objection is

       2   based.' At best, all the United States offers is speculation

       3   that "it is almost certain" that the USDA would have achieved

       4   better results if it had control of the receivables earlier in

       5   the case. See Docket 876 at 17:14-16.

       6         Also noteworthy is that the acts that comprise the United

       7   States' five reasons occurred after the hospital sale. As the

       8   United States explained during oral argument, what happened in

       9   the case up to the point of the hospital sale is "really not the

     10    basis of [its] objection. It's what happened after November

     11    2016." Transcript at 16:3-4. Based on that admission, the court

     12    is hard-pressed to understand how any of the five reasons have

     13    any relationship   -   rational or otherwise   -   to the chapter 7

      14   trustee's pre-sale services and case administration which the

      15   United States acknowledges benefitted creditors and which the BAP

      16   described as excellent and in creditors' best interests.

      17         On the other hand, the United States trustee's recommended

      18
                8The compensation base does not include the post-sale
      19   administration of receivables insofar as it excludes funds
           abandoned to the USDA in October 2018 ($100,740.32), June 2020
      20   ($199,259.68), and July 2020 ($23,238.96). See Docket 845 at 5
           n.1; see also Docket 876 at 12:15-18 (concurring with omission
      21
           from compensation base) . It also excludes "disbursements
      22   attributable to accounts collected after the Trustee filed his
           report of sale on January 3, 2017 (approximate disbursements of
      23   $89,201.69) ." Docket 864 at 3:10-12. And it excludes
           disbursements of non-estate funds. Id. at 24:9-10. See also Id.
      24   at 25:2-3 & n.12.
      25        9However, as noted in footnote 4, supra, the USDA was given

      26   control of the receivables after the hospital sold and it failed
           to exercise the full extent of that control. Even the BAP
      27   recognized that the USDA could have easily done so with very
           little effort and expense. See Colusa Regional Medical Center,
      28   604 B.R. at 855 n.13.

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       i F reduction in the chapter 7 trustee's commission fees satisfies
       21   the rational relationship test for several alternative reasons.

       3' For example, as noted above, the United States trustee's
       4 objection is based on a reduced compensation base that eliminates

       5 receivables administered after the hospital sale and non-estate

       6 funds, and it recaptures post-sale disbursements related to

       7 investment property.
                 To the extent necessary, it is also entirely appropriate to

            allocate the reduced compensation recommended by the United
     10 States trustee to the chapter 7 trustee's administration of the

     11 case from his appointment, i.e., June 7, 2016, through the filing
     12 of the hospital report of sale, i.e., January 3, 2017. Indeed,
     13 this approach is consistent with the United States' assertion
     14 that the hospital sale was, in its view, the logical conclusion

     15 of the case. See Docket 876 at 20:8-10; see also Transcript at
     16 17:16-18, 31:15-16. During that time period the chapter 7
     17 trustee provided 288.20 hours of service. See Docket 848, Ex. A,

            at 1-41. Reduced compensation of $84,579.02 during that period

      19    translates to an effective hourly rate of $293.47. That is an

     20     entirely reasonable rate for services and case administration the

      21    United States acknowledges were beneficial and for results in the

      22    case which the BAP explained were excellent and in the best

      23    interest of creditors.'°

      24
                 "The United States' repeated assertion that the chapter 7
      25    trustee's actions rendered the estate administratively insolvent
      26    are inaccurate. See Docket 876 at 13:1-7, 18:19, 19:6-17, 20:12.
            The chapter 7 trustee and the United States trustee anticipate a
      27    full distribution to unsecured priority wage claims and a partial
            distribution to unsecured priority tax claims. See Docket 900 at
      28    2:25-28; see also Docket 870 at 8:12-18. The reduction in the

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                 The United States trustee's objection is also consistent

           with Ruiz, Salgado-Nava, and In re Scoggins, 517 B.R. 206 (Bankr.

       3   S.D. Cal. 2014), which speak in terms of a reduction     -   rather

       4   than an outright denial   -   of the trustee's § 326(a) commission

       5   fees for extraordinary circumstances. See e.g., Ruiz, 541 B.R.

       6   at 895; Salgado-Nava, 473 B.R. at 914; Scoggins, 517 B.R. at 207,

      7    227. Scog gins is particularly relevant for its examination of

       8   the interplay between §§ 326(a), 330(a) (1), and 330(a) (2) and its

       9   conclusion that these statutory provisions provide the bankruptcy

     10    court with authority to reduce a trustee's statutory commission

     11    fees for extraordinary circumstances. Scoggins, 517 B.R. at 207

     12    &   227.

     13           But the power that §§ 330(a) (1) and (a) (2) give the

     14    bankruptcy court to award commission fees in an amount less than

     15    the statutory maximum under § 326(a), i.e., to reduce it, for

      16   extraordinary circumstances does not appear to include the power

      17   to deny commission fees in their entirety for the same reason as

      18   the United States requests. To reiterate, in addition to §

      19   326(a), trustee compensation is governed by § 330. Scoggins, 517

      20   B.R. at 210-11. And whereas § 330(a)-(1) authorizes the court to

      21   award trustee compensation and § 330(a) (2) authorizes the court

      22   to "award compensation that is less than the amount of

      23   compensation that is requested," any reduced amount awarded

      24   remains "subject to sections 326, 328, and 329[.]" 11 U.S.C. §

      25
      26   chapter 7 trustee's commission fees will also now increase by
           approximately 61% the distribution to unsecured priority tax
      27   claims. See Docket 870 at 13:12-25; see also Docket 904 (noting
           that TER filed September 13, 2021, is mooted by the reduction and
      28   a new TER which increases distribution is required)

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       ii 330(a) (1).

       21        Section 326(d) expressly authorizes the court to "deny

       3 allowance of compensation        .   .   .   if the trustee failed to make a

       4    diligent inquiry into facts that would permit denial of allowance

       5 of compensation under section 328(c)." 11 U.S.C. § 326(d)

       6    (Emphasis added)   .   Section 328(c), in turn, expressly authorizes

       7 the court to "deny allowance of compensation" if, at any time
       8 during the case, a professional is not disinterested, or
       9 represents, or otherwise holds an interest adverse to the estate.
     10 11 U.S.C. § 328(c) (Emphasis added). Section 326(d) says nothing

     11 about a denial of the § 326(a) commission fees for any other
     12 circumstances- extraordinary or otherwise. And perhaps for good

      13 reason. Denying all § 326(a) commission fees is a harsh remedy
      14 generally reserved for an intentional or negligent failure to
      15 investigate and disclose conflicts which would have prevented the
      16 trustee's employment and, thence, compensation in the first

      17 instance.      See Matter of BH&P, Inc., 119 B.R. 35, 44-45 (D.N.J.

      18 1990); In re Grieb Printing Co., 297 E.R. 82, 88 (Bankr. W.D. Ky.

      19 2003)

      20         The point here is that the power to reduce an award of a

      21 trustee's § 326(a) commission fees for extraordinary
      22 circumstances must be exercised within the parameters of §
      23 326(d) and 328(c) which limit the power to deny the § 326(a)
      24 commission fees to specific circumstances which the United States
      25 has not shown are applicable here. See In re Clemens, 349 E.R.
      26 725, 731 n.22 (Eankr. D. Utah. 2006) ("As with the statutory cap

      27 under § 326(a), the Court must also consider the limitations of §
      28 326(d) in determining whether requested fees are reasonable.").

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       1 By asking the court to altogether deny        -   rather than merely

       2 reduce   -   the chapter 7 trustee's § 326(a) commission fees on the

       3 basis of extraordinary circumstances the United States is
       4 effectively asking this court to override Congress through an
       5 exercise of its equitable powers by expanding the grounds under §

       6 326(d) for which statutory commission fees requested under §
       7 326(a) may be denied. The court declines to do so. Indeed, Law
       8 v. Siegel, 571 U.S. 415 (2014), teaches that the bankruptcy court
       9 may not use its equitable powers to operate outside the

     10 parameters of statutory limitations and thereby contravene
     11 express provisions of the Bankruptcy Code. Id. at 422-23. The
     12 Ninth Circuit very recently reaffirmed precisely that point in

     13 Nichols v. Marana Stockyard      &   Livestock, Inc., 10 F.4th 956, 960-

     14 61 (9th Cir. 2021)

     15
     16 Conclusion

     17          For the foregoing reasons, and for other good cause, as the
      18 court previously stated on the record on September 28, 2021, the

      19 United States trustee's objection will be sustained and the
      20 United States' objection will be overruled.

      21         An appropriate order will issue.

      22         Dated: October 12, 2021.

      23
      24
                                              UNITED STATES BANKRUTCY JUDGE
      25
      26
      27
      28
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       1                   INSTRUCTIONS TO CLERK OF COURT
                                    SERVICE LIST
       2
               The Clerk of Court is instructed to send the attached
       3 document, via the BNC, to the following parties:

       4  Henry C. Kevane
          150 California St 15th Fl
       5 San Francisco CA 94111
       6 J. Russell Cunningham
          1830 15th St
       7 Sacramento CA 95811

       8 JeffreyJ. Lodge
          2500 Tulare St #4401
       9 Fresno CA 93721

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